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KENJI M. PRICE #10523
United States Attorney
District of Hawaii

GREGG PARIS YATES #8225
Assistant United States Attorney
Room 6-100, PJKK Federal Building
300 Ala Moana Boulevard
Honolulu, Hawaii 96850
Telephone: (808) 541-9220
E-Mail:     Gregg.Yates@usdoj.gov

Attorney for Plaintiff
UNITED STATES OF AMERICA

                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,            )   Cr. No. 17-00101 LEK
                                      )
                    Plaintiff,        )   GOVERNMENT'S RESPONSE TO
                                      )   DEFENDANT’S MOTION TO
             v.                       )   DISQUALIFY RONALD G.
                                      )   JOHNSON AND GREGG PARIS
 ANTHONY WILLIAMS,                    )   YATES FOR NOT HAVING AN
                                      )   OATH OF OFFICE FILED AND
                    Defendant.        )   FOR NOT HAVING A VALID
                                      )   LICENSE TO PRACTICE LAW;
                                      )   EXHIBIT A; CERTIFICATE OF
                                      )   SERVICE
                                      )

           GOVERNMENT'S RESPONSE TO DEFENDANT’S
         MOTION TO DISQUALIFY RONALD G. JOHNSON AND
      GREGG PARIS YATES FOR NOT HAVING AN OATH OF OFFICE
   FILED AND FOR NOT HAVING A VALID LICENSE TO PRACTICE LAW
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      The government respectfully submits this brief in response to the defendant

Anthony T. Williams’s motion to disqualify the Assistant United States

Attorney(s) assigned to this matter. Mot. Exh. A, ECF No. 525-2.

      The defendant’s motion is frivolous and should be summarily denied

without hearing. “The disqualification of Government counsel is a drastic

measure and a court should hesitate to impose it except where necessary.” United

States v. Bolden, 353 F.3d 870, 878 (10th Cir. 2003). As noted by the D.C.

Circuit in an analogous circumstance, “a criminal defendant cannot routinely

remove prosecutors he dislikes, or fears, by suing them.” United States v. Heidt,

668 F.2d 1238, 1276 (D.C. Cir. 1981). Courts have allowed disqualification of

government counsel in only limited circumstances, none of which are implicated

here. See, e.g., Young v. United States, 481 U.S. 787, 807 (1987) (actual conflict

of interest because an appointed prosecutor also represented another party); United

States v. Heidt, 668 F.2d 1238, 1275 (D.C. Cir. 1981) (discussing a prosecutor’s

pecuniary interest in successful prosecution); United States v. Prantil, 764 F.2d

548, 552-53 (9th Cir. 1985) (prosecutor who was also a witness at trial).

      The defendant’s motion is based upon unfounded accusations that the

appointed counsel for the government do “not [have] an oath of office filed” and

do “not hav[e] a valid license to practice law.” Mot. Exh. A at 1, ECF No. 525-2.




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The defendant has failed to carry his burden upon his motion by making any kind

of showing in support of his motion.

      In any event, the defendant’s accusations are absurd. The authority of an

Assistant United States Attorney is set forth in Title 28, United States Code,

Section 542. As relevant to the Motion, an Assistant U.S. Attorney is required to

take an “oath to execute faithfully his [or her] duties,” pursuant to Title 28, United

States, Section 544. The oath of office for the undersigned attorney was

administered orally by the Hon. J. Michael Seabright, Chief Judge of the U.S.

District Court for the District of Hawaii on January 11, 2016.1

      No authority, Federal or State, requires that attorneys for United States file

any kind of document relating to an appointment to office with the State of Hawaii

Bureau of Conveyances, as the defendant alleges. According to its website, the

Hawaii Bureau of Conveyances “maintain[s] an accurate, timely, and permanent

record for title to real property.” See State of Hawaii Bureau of Conveyances

website, available at https://dlnr.hawaii.gov/boc/.

      Similarly, the defendant’s unsupported allegation that attorneys for the

government must be disqualified upon the ground that they are not licensed to



1
  An SF-61 form Appointment Affidavit was signed on January 11, 2016 by the
undersigned counsel and Chief Judge and can be made available for review, upon
the Court’s request. Attorney Ronald G. Johnson is no longer associated with this
matter.

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practice law is unsupported and baseless. The state bar numbers of the attorneys

associated with this prosecution have been prominently displayed on each filing in

this case. The membership in good standing with the Hawaii State Bar for the

attorney associated with this prosecution is a matter of public record. Exhibit A.

      Membership in good standing with the Hawaii State Bar is adequate

qualification for a government attorney to practice before this Court. Criminal

Local Rule (Crim L.R.) 83.1(d) (“Any attorney who is an active member in good

standing of the bar of the highest court of any State and who is employed by the

United States or one of its agencies in a professional capacity and who, while being

so employed, may have occasion to appear in this court on behalf of the United

States shall be eligible for leave to practice before this court during the period of

such employment.”).

      “Since the founding of the Republic, the licensing and regulation of lawyers

has been exclusively to the States and the District of Columbia within their

respective jurisdictions.” Leis v. Flynt, 439 U.S. 438, 442 (1979). The Supreme

Court of the State of Hawai’i sets the license requirements for the practice of law

in Hawaii. Haw. Rev. Stat. § 605-2. The Hawaii Supreme Court organized the

Hawaii State Bar for the purpose to “aid the courts in regulating, maintaining and

improving the legal profession, [and] administration of justice and advancements

in jurisprudence . . . .” Rules of the Supreme Court of the State of Hawai’i Rule


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17(b). Among other things, the State Bar has the “responsibility for administering

the statutes and rules of this court relating to governance of the profession . . . .”

Rule 17(b). The State Bar maintains records of an admitted attorney’s status,

including instances of professional discipline or conviction. Rule 17(d).

Therefore, this Court recognizes active membership in good standing with a state

bar as a pre-requisite for government counsel to practice before it. Crim L.R.

83.1(d).

      In sum, counsel for the government is appropriately qualified to represent

the government in this matter. The defendant’s arguments to the contrary should

be rejected.

                                    CONCLUSION

      For the foregoing reasons, the government respectfully requests that the

Court deny Defendant’s motion to disqualify the counsel for the government.

               DATED: July 24, 2019, at Honolulu, Hawaii.

                                                KENJI PRICE
                                                United States Attorney
                                                District of Hawaii


                                                By /s/ Gregg Paris Yates
                                                 GREGG PARIS YATES
                                                 Assistant U.S. Attorney




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                               CERTIFICATE OF SERVICE

      I certify that, on the dates and by the methods of service noted below, a true

and correct copy of the foregoing was served on the following by the method

indicated on the date of filing:

Served Electronically through CM/ECF:

      Lars Isaacson, Esq.
      hawaii.defender@earthlink.net

      Stand-by Attorney for Defendant
      ANTHONY T. WILLIAMS

Served by First Class Mail:

      Anthony T. Williams
      Register No. 05963-122
      Inmate Mail
      FDC Honolulu
      PO Box 30080
      Honolulu, HI 96820

             DATED: July 24, 2019, at Honolulu, Hawaii.

                                             /s/ Melena Malunao
                                             _________________________
                                             U.S. Attorney’s Office
                                             District of Hawaii
